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                EXHIBIT
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                                    UNITED STATDS DISTRICT COURT
                                    EAST'ERN DISTRICT OF NEW YORK

           STAR AUTO SALES OF BAYSI DE, INC,                         CivilAction No.:
           (dlbla STAR TOYOTA OF BAYSIDE),                           I : I 8-cv-05775 -ERK-CLP
           srAR AUTO SALES OF QUEENS, LLC
           (dlbla STAR SUBARU), STAR l-IYIJNDAI
           LLC (dlbla STAR I{YUNDAI), S'I'AR
           NISSAN, lNC. (d/b/a STAR NISSAN),
           METRO CHRYSLER PLYMOUTFI INC.
           (dlbla STAR CHRYSLER JtsEP DODGE)'
           STAR AUTO SALES OF QIJEENS
           COUNTY LLC (dlbla STAR FIAT) and
           STAR AUTO SALES OF QUEENS
           VILLAOE LLC (d/b/a STAR
          MtrsuBIsHI),
                                 Plaintiffs,
                  -against-

         VOYNOW, BAYARD, WHYTE AND
         COMPANY, LLP, HUGH WHYTE, ITANDALL
         FRANZEN AND ROBERT SEIBEL,

                                 Defendants


                              DISCOVERY STIPULATION AND AGREEMENT
               Irlaintiffs and Dcfendants (collectively the "Parties") confcn'ed pulsuant to F'ederal llule

       of Civil Procedure 26(f and agree on the standards for discovery, mulually seeking to rcducc the

       tinre, expense and othcr burdcns of identifying, locating, prcserving, securing, collecting,

       prepar.ing, r'evicwitrg and producirrg facts, inforntation and materials for the purpose   of

       producing/obtainirrg evidence, especially as it rclates to electrortically stored information

       (,,ESI"). 'Iherefore, rhe Parties enler into this Discovery Stipulation And Agreement (the

       "Agreernent") to govern discovery obligations in this action.

              'I'he Parlies agree to the following:
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       I.         Grnnnlt, Pnlnclplns
                  The Parties are commitled to act in good faith throughout this matter and meet and oonfer

       on mattcrs to rcsolvc disputes in the spirit of cooperation. The proportionality standard sct forth

       in Federal Rule of Civil Procedure ?6(b)(l) must be applied to all uspects of the discovery

       Process.

       II.      Dnrlxluons
               The following definitions    will apply for     purposes of this Stipulated Agreement:

               A.         Application meatrs a collection of one or more related soflwarc programs that

       enables a user to cnler, store, view, modify or cxtract information fiom filcs or databases. Tbis

       term is comnronly interchangeable witlr "progranl" and/or "sottware".

               B.         Bates Number means a unique alphanumcric identifiel assigned to each page        of

       each docunrent in every produotion set,

               C.         Custodian means the person having administrative control of a document or

       electronic file.

               D.         Deduplication nle&ns the automated process of identifying identical copies of thc

       samc document fanrily bascd on the MD5 or           SHA-l     hash value of the docurnents and renroving

       identically matching rccords (a.k.a.,   I   "lrue duplicate") from the data set.

               E,         Document mcans anything electronic, typcd, hand-written or printcd thal conveys

      inlbrmation and is subject to production or inspection, including without limilation: texts,

      writings, drawings, graphs, charts, photographs, sound recotdings, videos, itnages, etnail, ernail

      atta0hnrcnt(s), databases, word or tcxt docutnents, sprcadsheets, graphics, presentations, or any

      other collection of pages rcpresenting an electronic file or paper record.

              F.          Document family means      a group    of related documents that are considered



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        collcctively   as a group suctt as an enrail   witlr attachments   -   the crnail being the "parent" and an

       attaghmcnt a     "child" (multiple attachments being refened        1o os   "children"). Paper documents

       that are physically connected by binding, folders, or other cohesive physical or logical groupings

       mny manually be deemed a document fanrily if scanned and categorized as such. For exanrple,                    a


       binder cover. is marked as a "parcnt" nnd materials within are ntarkcd as "children" during the

       scanning proccss and nraintained for produotion purposes thereafrer, (See ParenUChild

       Relationship below).

               G.        Draft document     rneans a prelinrinary version of a rccord before it has been


       conrpleted, firraliz.ed, acceptcd, validated or    filcd.   Such records include workirrg files and notcs.

               H.        Load File refers to a file containing licldcd inforntation (i.e., irtrage type or

       rnetadata) being produccd from ESI and scanned rccords. A data file should aocompany any and

       all productiorrs. Thc ploduction shall include an Opticon (OPl) load file and Concordance

       (DAl) file that indicates document breaks to accompany the irnages.               For nlore infonnation

       about data files, see "nletadata" below.

               I.        t)lectrolic Mail Message (a.k.a., email/e-mail) means a document crcoted or

       received via an clcctronic mail system with pictoriul and/or text-based content exchanged

       between or among a sender and recipient(s). An cmail may include (withorrt lirnitation) brief

       notes, formal or.substantive lran'ative docunrettls and/or attacltments, such as word proccssing,

       graplrics or othcr accompanying electt'onic malcrials.

              J.        Email Mcssage Store (a.k.a., Mailstore) nreans the location irr which an email

       system stores its data. For irrstarrce, an Outlook I'ST (personal storage folder) is a tyPe of top

       most file thal is create! whcn a uscr's Outlook ntail account is sct         up. Additional Outlook PST

       files for that user can be created for backing up snd archiving Outlook folders, nressages, forms




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        and   files. Sirrrilar to a filing cabinet, whiolr is not considered part of materials excltanged during

        discovery, the I,ST file itself is likewise not counted as part of an email family (see Parent/Child

        Relationship below).

                 K.      Dxtracted text means collectirrg text fiont files that include text in their original

       native file format or after generating lext filcs from Optical Characler Recognition (OCR)

       software for the purpose of indexing thc tcxt into an application for search and rctricval

       purposes.

                 L,      F'ilename extcnsion tneans an identifier specified as a suffix to the name of    a


       cornputer fitc.'l'he extension indicates a characleristic of the file conlcnts or its intendcd usc. A

       file exren.sion is rypically delirnited frorn the filename with a full stop (period) and includes,

       wilhoul lintitation:

                Softwarc                                             File Extension
                Microsoft Outlook                                    PS'T
                Microsoft Outlook Messogc                            MSG
                Lotus Notes Email                                    NSF
                Apple OS X Mail EMLX                                 EMLX
                Hypcrlcxt Markup Language                            HTML
                ANS I, ASCII, UTF-8 Tcxt Programs (e'g.,             TXT
                'l'extPad, NotePad)
                Microsoft Word                                       DOC, DOCX
                WordPsrfcct                                          WP4, WPD
                Microsoft Excel                                      XLS, XLSX
                Microsoft PowcrPoint                                 PPT, PPTX
                Adobe Acrobat                                        PDF'
                Othcr        file
                lmaging Programs                                     JPEG, PNG, TIFIT,'I'IF, BMP,
                                                                    CIF
                Multi-Media                                         MPG, MP3, MP4, WAV, QTFF,
                                                                    wMv

                M.      Ifard Copy Documcnt rneans a Document kept in physical form (i.e., paper), as

       opposed to electronic form, in   fte ordinary   course of a parly's business.




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               N.      Illetadata rneans data about other data and generally describes lhe origin,

        struclure, and/or charactcristics    of   conlputer files, webpages, databases'        or   othcr digital

       resources. For cxanrple, an cmail message may contain, among other things, inforrnation such              as


       t9/from/cc/bcc/date sent; whereas, an image lile may include, among other things, size, color,

       resolution arrd cr.eation date. Digitized papcr or othcr scanned documcnts              will nol contain

       metadata unless lnanually captured by visual inspection (i.e., bibliographic coding).

               O.     Native File Format lneans the default file format that an application uses to

       creatc or save etectronically generated    files, Most softwarc crcote ploprietary file fornrats, which

       can bu cxtended to use in olher platforms. For examplc, the native file folmat associated with a

       Microsofl Word document is .doc/.docx, but users arc still given the option lo save in other

       fogrrats like .txt, .pdf and ,rtf, which also can be viewed using Microsoft's Word Applicotion,

               P.     Not Reasonably Accessible nreans ESI that        a Party   idcntifics as not reasonably

       accessible because ofundue burden or cost.

               a.     Oplical Character Recognition ("OCR") mcons utilizing softwale to attempt

       4etection and cxtraction   of text fi'on     image-only files and generate sepal'ate text files to

       accompany those original image'only files lbr scarchability purposcs.

              R.      Portabte Document F'ormat ((PDF") mcans a docunrent rept€sentation format

       for capturing and exchalrging text, images, graphics, and/or other multimedia content in                 att


       inrage-orrly ol scarchable package.   A    PDF lhat is flattcnecl into a picture without an underlying

       layer of text is l<nown 0s an "lmage-only Pf)F"; whetrcas, a PDF with searchability has OCR

       applied and adds a text layer to the image underneath so il is fully searchable, which is called          a


       "Scarchable PDF".

              S.      Productlon means the delivery of data and/or inforrnation in responsc to        an




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        inten'ogatory, subpocna or discovery order or similar legal proccss,

               T.      Production Media ntcalls the physical media or portal used to store production

       materials, such as a hard drive, thumb drive, CD, DVD or via a secure File Transfer Protocol

       (FTP) website or messaging system.

               U.      Tagged Image File Format        ((TIFF') An   industry-standard frlo format for

       storing scanned and other digital black-and-white, grey-scale, and full-oolor images. TIFFs

       shoutd be in 300 D.P,l. Group   lV compression black    and white single-pagc format,

               v.     Webmait nleans cmail service lhat is provided through       a website.


               W.     Website nreans a collection of Uniform Resource Indicators (URIs, inoluding

       Uniform Resourcc Locatorc (URLs)) in the control of one administrative entity. Websites may

       come from different URls (e.g., FTP sites, telnet sites and World Wide Websites).

       III. PnusrHvltton
               tn accordance with the Fedclal Rules of Civil Proccdure ('FRCP"), the FederalRulcs        of

       Evidence ("FRF,'), and all relevant controlling principles of law, the Parties having discussed

       their preservation obligations and needs pursuant to FRCP(26Xf), hereby agree to preserve

       discovcrable information in considcration ofi

                 i.   whether such disoovery is relevant to a claim or defense and is proportional to the

                      imponarrce of fte issues at stake in this action;

                ii.   thc costs of discovery in liglrt of the amourlt in conlroversy;

               iii.   the Parties' relativc scccss to relevanl information;

               iv.    the Partics' resources;

                v.    the importance of the disoovery in resolving the issues; and




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                  vi.   whethcr thc burden or €xpense of tlre proposed discovery outweighs its likely

                        benefit.

               The Parties agree that prcservation does not by itself definc the scope of discovery,

       especially as it retates lo privilege, sensitive, and/or non-rosponsive ntaterials unrelated to this

       action. No preservation effort by thc Parties shall be deemed       a   waivcr of any claim of privilegc.

              Notwithstanding the aforementioned, the Parties agree to forego producing the following

       unless there is a question of spoliation, whereby tho Parties shall meet and confer to modify the

       scope of the below referenced limitations:

             i.         email delivery and read leceipts;

            ii.         tcmporary      or   cache files, including internet histoty, web browser cache and

                        oookie files, whercver located;

           iii.         server! systctlr or network logs;

           iv.          corrupt or unreadable files (unless password protected and the password is readily

                        accessible);

           v.           syslem or exeoutive filos (e'g., ,exe, .dll);

           vi.          data from a smartphonc device or othcr ccll phone whcre, based on thc producing

                        party's standard practices, believes the smartphone dcvice or othet' cell phone

                        information is expected to be duplioative of somc other sources being produced

                        (c.g., email ftom webmail or a rrctwork servet);

          vii.          log data fi'om photocopiers or fax machines;

          viii,         materials retained primarily      for backup or disaster rccovery      purposes unless

                        relevant ESt cxists onty on a Party's Backup data/system, whoreby prcservation is

                        required and the Parties       will meet and confer about how to          producc such




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                      infornmtion;

             ix,      Voicemaits and voice ntail logs where, bssed on the producing parfy's standard

                      practices, betieves rhe voicemail information is expected           to bc   duplicative   of

                      some olhcr sources being produced (e,g,, email stores a oopy         of visuol voicenrail

                      on webnrail or a network server); and

             x.       any other file types subsequently agreed upon by the Parties,

       ry.     PnonucrtoN          FORMATS

               As part of Parties ongoing cooperation, the following general considerations        will apply to

       each production (wlrcther delivered on a    lolling basis or otherwise);

              A.      Image    &   Nalive File Production Specilications'

              Today's technotogy makes it casy to simultaneously producc files in multiple fotmats,

       along with load files, As such, the parties hereby agree to provide produotions that include the

       following content in scparate folders: IMAGES; NATIVES; TEXT and LOAD FILES.

                      l)   IMAGES. The Parties also understand that having        bates stamped documents


                           to reference at depositions, hearings, court appearances, mediations,

                           arbitrations and/or trials are likewise efficient and helpful to all parties

                           invotved. Accordirrgly, fte Partiss agree to produce TIFFs with each

                           production. TIFFs filcs will be rcnamed to match the corresponding

                           begilrning bates number and shall be endorsed with the appropriate batcs

                           number per page. Eaoh bates number shall appear on thc lower right comer          of

                           each page whhout obscuring the record's substantive content.

              Notwithstanding tlre aforementioned, TIFFs shall not be provided for Spreadsheets,

       Databascs, Multimedia or any other proprietary filc fomots that connot be reasonably rendered




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         into viewable images, so long as a copy of each file is separately produced as part of the native

        production discussed above.

                        2)     NATM,S.         The Parties undersland that in certain instances native filcs are

                        the most cost-eflbotive and effioient method of production where such files are

                        not easily or effectively convertcd to images files, such as Exccl filcs, Acoess

                       files, audio, video and certain drawing files. In such cases, the Parties agrcc to

                       provide native files for each produclion, renaming each native file to its

                       corresponding bcginning bates number.

                       3)      TEXT FILES, Documcnt lcvel lext - whethcr extracted or OCR'd should

                       bc produced separately for each docuntent in a separate folder with each record

                       being named to match the record's corresponding beginning bates number. The

                       data filc   will inotude a textlink path. No body text will   be includsd in the data

                       file,

                       4)      LOAD FILES. Load files arc used to import images and ntetadata into             a


                       database for review.    If   images are produced, the image cross-reference file

                       should be pr.o<luced as an Optioon (.OPT) file    .   Metadata load files must be

                       provided in Concordancc/Relativity format (.DAT) using the following standard

                       Concordance/Relativity slandard delimiters.




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                                   Value               Chanclor                   ASCII Number

                                  Column                      '[                        020

                                   Quole                      b                         254

                                  Newline                  @                            174

                               Multi-Value                    t                        059

                              Nesled Value                    \                         092




                       All load filcs should   be encoded as       UTF-8. Data mapping field headings are

                       more fully described in Attachment          "A",

               B.      Document Family Group Intcgrity. Parent-child relationships of ESI shall be

       preserved to lhe extcnt available for produclion purposes. As such, each parent and each child,

       while being produced as separate records, sholl maintain this family group integrity by using

       sequentiat bates numbering of the parcnt and any child/ohildren subsequently following its/their

       associated parent file or such other etfcctivc mcthod performed by the eDiscovcry systent

       utilized by the Parties.

               C.      Multi-media files. Audio and/or video files shall be produced nalively, cvcn if

       unvicwable by   a   Parties review platform of choice.

               D.      Database liles. Databases such as Microsoft Aocess files or othcr rccords with       a


       .DB file extension shall be produced natively for review in their respective native application

       where readily available.

              E.       Decryption/Password Ilandling. The Parties agrcc to rellrove encryption or

       password protection wherever feasible and provide passwords or assistance needed lo open

       encrypted files identified in any production volume.

              F.       Uncommon Proprietory Flles. Parties agree to meet and confer regarding the

       production of {iles that would requirc the use of proprietary softwarc not contmonly found in the



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         workplacc (e,g., Reynolds) and explore othcr format options or ways to review tlrcsc files.

                 G.      llard Copy Docurnenls.           Parties agree   to   meet and oonfer regarding the

        production of hard copy docunrenls, if nccessary.

                 H.     Custodian Inforrnolion. Custodian informalion shall be populated by thepetson

        or departnrent fronr which the document was collectcd. The custodian field for entail may be

        populated wittr the Conrpany narne only when the cotnpany has a consolidated ernail server that

        does not preserve "custodian" information.

                I.      De-duplication, The partics will use their best efforts to de-duplicate docunrents

        as neccssary prior to producing thcm; meaning that exact duplicatcs of a docurttent             will     bc


        rernovecl to tlre best   of thc producing party's ability frorn the cntire population of docunlcllts to

        be prnducerl. As part       of the nretadata to bc produced,    the psrti€s shall provide a field that

        identifics allcustodians who maintained a copy of any de-duplicatcd record, the natrres of which

        are lo bc separated by a senti-colon (c.g., Jane Doe; John Doe)'

                J.      Email Thrcad Analysis. Email thread analysis may be used to reduce the

        volume   of   ernnils reviewed nnd ploduced. The produced emails must include               all of      the


        responsive information from a thread, including rcsponsive attachments, For cxantple,              if   an


        email in a string dcvialcs from the thread such that it conlaitts respon.sive atlachmenls that are llot

        included in thc most complete thread, then that individual entail atrd its responsive atlachments

        shall also bc produced. Notwithstanding the aforementiotted, email threading is not requircd.

               K.       No Backup Rcstoration Required. Absent a showittg of good cause, no porly

        nced restore arry forrn of mcdia upon which backup data is ntaitttained in a party's ttornal or

        allowed processes, inoluding, but not linrited to, backup tapes, disks, SAN or olher forms    of

       mcdia, in order to comply with its discovery obligations.




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                L.      Metadata I'ields. Preferred nretadata fields are idcntilicd in Attacltment "A".

        Metadata shall be produced to the extenl it is reasonably available exoepl with respect to paper

        documents or documents rvith metadata redacted in whote or in part on grounds of privilege.

                M.      Non-f,)nglish ESI. Textual infiormation associatcd with ESI will    be produccd at


        teast in the language in which it is kept in the usualoourse of businEss. This protocoldoes not

        affect translation of documents that nray be produced in discovery.

                N.      No Obligation to Convert Third Party Productions. The parties agree that any

        document produotion reoeivcd liorn a third party shall be produced in thc formal in which it was

        rsceived.

               O.       Bates Numbering. The Parties agree that productions nrust be endorsed with

        scqucntial llates Nunrberc in thc lower right corrrer of each inlage. Bates Nuntbers shall not

        obliterate, oonceal, or intcrferp with any substantive infonnotion on each cndorscd document.

       The Parties   will follow    the followirrg naming conventions:

               PDF Files = [Beg_Bates Number].pdf

               Native Files = [Beg-Bates Number],ext'

               Text File = [Beg-Bates Number].txt.

               The Parlies   will   use the following Bates Number fornrat lbr all productions:

       .Xx#####ilili,1" or -XXX#######I/" where "XX" or ('XXX" represents the short character

       abbrcviation fol tfte producing Party and ###il##### represenls thc eight (8) digit tracking

       numbcr assigned to each pagc of cach document in a production set (or in the case of native files,

       the first bates lumber of each document artd a cross-rsference file or other load file associating   it

       to each page of each documcnl in a produotion set).

               P.      Method of Production. The Parties agree that documents produced will bc made




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        avaitable via secure file transfer or on encrypted physioal media, based on lhe appropriate size       of

        the produotion, The Parties agree to label eaoh piece of production rnedia with:      (l)   oasc


        numbor, (2) producing Party's name; (3) production date; (4) production volume(s); and (5) bates

        ranges per volume.


        V.     SCOPr OF PRIVILEGE AND LOCCIIVC

               pursuant to FRE 502(d), thc production of a privileged or work-product protected


        document, whether inadvertont or otherwise, is not a waiver of privilege or protection ft'om
                                                                            'l'hc Parties agree that for each
        discovery in this case or in any other federal or stale proceeding.

        document withheld on the basis of an asserted claim of privilege or protection, the nsserling

        Paffy must pmduce a log pursuant to Local Civil Rule 26.2(c)'

               Notwithstanding the prcceding and in     an   effort to reducc thc time rcquired to prepare a

        privilege log, the Parties may agree not to expressly log certain categories of communications

        and/or docurncnts, The parties furthcr agree to meet and confer regarding thc spccific

        requirements of privilege logs prior to exchanging with the other.




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        VI.      C1lwslcX   PnOrnCl'IONS non In.,rpvERTENT PnOpuCt't9n(S) on
                 Pnrvllncn oR PRorEcrED Mntr:nt.at,s
                The Parlies agree that thc production of privileged or work-product protecled documents,

        ESI or otherwise, whethcr inadvcnent or otherrvise, is not a waiver of the privilege or ptotection

        fr.om discovery in this case or in any other federal or state proceeding. This Stipulated

        Agreement shall be interpreted to provide the tttaximunr protection allowed by Federal Rule         of

        Evidencc 502(d),

                Furthernrore, nothing contained herein is intended to or shall serve to lirnit the Parties'

        right to conducl a review ol'documents, ESI or other data (including metadata) for relevance,

        responsivcncss and/or segregation of privileged and/or protcctcd infotmation before production.

                Should the receiving Party receive a written demand for relurn of the material, it will

        nrake reasonablc, good faith efforts to prornptly sequestef, return or deslroy all inadvertently

        produccd ntaterial identified by lhe producing Party. If copies of inadverlcntly produced

        materials are captured on the receiving Party's Systern.s (including but not lirnited to document

        management systems) the receiving Parry        will over- writc those copies according to ils

        establ ished procedures.

                If rhc rcceiving Party must destroy or dclcte production    nredia (e.g., CD) in ordcr to

        clestroy or delete inadverlently produced material, the producing Party     will provide   a duplicate


        copy of the procluction media minus only the inadvertently produced material within l4 days of

        its written request for return of thc tnaterial to the receiving Parly.

                If fhe receiving Palty intends to challcnge the claim of privilege or protectiorl or tlte

       inadvertence of the production, it   will   keep one copy of the inadvertently produced material in a

       sealed envelope or a secluestered location while seeking a ruling froln the Court.




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        VII.    Cosrs orDocuprnltPnonuc'I'IoN

                Other than with respect to Sections IV(F) and IV(C), eaoh Party shall bear the costs      of

        producing its own retevant, non-privitcged materials and privilcge logs'

        VIII. RreutnnrurNl          1'o Connpn

                The Parties willconfer in a good faith to attempt   1o   resolve disputes before filing any

        motion about the terms of this Agreement regarding compliance with this Agreement.

        IX.     Scopn Or AcnnsMENT

                This Agreerncnt msy bs modified by a Stipulated Order of thc Parrics, by agreement, or

        by the Court for good cause shown. Nothing in this Agreement is intended lo, or does, waive

        any objections to discovery or admissibility, or any other privileges or immunities or, except as

        specifioally plovided herein, impose obligations different than those contained in the Federal

        Rutes of   Civil Prucedure andlor the Federal Rules nf Evidence. 'l'he parties recognizc that

       additional issues or unforeseen circumstanccs may arise in the coursc of discovery, and nothing

        in this Agreement is intended to, or does, restrict the ability of any parfy to request additional

       information or seek additional relicf from the Court. The parties each retain the right to scck

       exceptions, amcndmcnts, or modifications to this Agreement from the Court. Furthermorc

       neither parry waives its right to any claim of spolialion should such a claim arise.




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        TntcntsNnpnc Rooes                      MlnsHeu, DsnnpHv WAnt{En
        & Fnl      LLP                          CoLsMaN&

        By                                      By
              Bany   J.                              Gregory W. Fox

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